                          Case 5:21-cr-00527-DAE Document 35 Filed 10/04/23 Page 1 of 2
AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Western
                                                   __________   Districtofof__________
                                                              District       Texas

                  United States of America
                             v.                                      )
                       James Alan Little                             )        Case No.    SA-21-CR-527-DAE (1)
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                            Defendant


                                                         ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      James Alan Little                                                                                    ,
who is accused of an offense or violation based on the following document filed with the court:

’ Indictment              ’ Superseding Indictment          ’ Information        ’ Superseding Information             ’ Complaint
’ Probation Violation Petition               ✔ Supervised Release Violation Petition
                                             ’                                             ’ Violation Notice          ’ Order of the Court

This offense is briefly described as follows:
  PB-12C VIOLATIONS OF SUPERVISED RELEASE: (SEE ATTACHED PETITION)




Date:         10/04/2023
                                                                                            Issuing officer’s signature

City and state:       San Antonio, Texas                                                 W. Garcia, U.S. Deputy Clerk
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
                          Case 5:21-cr-00527-DAE Document 35 Filed 10/04/23 Page 2 of 2
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):




          Print                       Save As...                                                                Reset
